                    Case 23-03559            Doc 1       Filed 03/16/23 Entered 03/16/23 16:16:00                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Absolute Home Health, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1715 N. Division Street, Suite 7
                                  Morris, IL 60450
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Grundy                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       none


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Absolute Home Health, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6216

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Absolute Home Health, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Absolute Home Health, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 16, 2023
                                                  MM / DD / YYYY


                             X   /s/ Stori Worth                                                          Stori Worth
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ William J. Factor                                                     Date March 16, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William J. Factor 6205675
                                 Printed name

                                 FactorLaw
                                 Firm name

                                 105 W. Madison St., Suite 1500
                                 Chicago, IL 60602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-878-6976                  Email address


                                 6205675 IL
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Absolute Home Health, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Byram Healthcare                                    Patient supplies                                                                                            $19,404.00
 444 Highway 96
 East
 Saint Paul, MN
 55127
 Distinctive Therapy                                 Contract therapy                                                                                            $12,315.00
 7501 Lemont Rd,                                     company
 Suite 345F
 Woodridge, IL 60517
 Global Resources                                    Business                                                                                                    $26,630.78
 150 W Washington                                    consulting group
 Ave.
 Santa Fe, NM 87501
 Home Theraputic                                     Contract therapy                                                                                            $15,140.00
 Staffing                                            company
 10661 S Roberts Rd
 Suite 201
 Palos Hills, IL 60465
 Illinois Department                                                                                                                                             $47,000.00
 of Revenue
 P.O. Box 19035
 Springfield, IL
 62794-9006
 Illinois Dept. of                                                                                                                                               $14,902.66
 Employment Sec.
 Collections Section
 33 S. State Street
 10th Floor
 Chicago, IL
 60603-2802
 Imperial PFS                                        Marketing                                                                                                     $3,028.05
 1055 Broadway,
 11th Floor
 Kansas City, MO
 64105




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Absolute Home Health, LLC                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Internal Revenue                                                                                                                                              $126,862.62
 Service
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Lustig & Wickert,                                   Services rendered                                                                                           $20,788.85
 P.C.
 3400 Dundee Road
 Northbrook, IL
 60062
 Sorinsky                                            Accounting                                                                                                    $7,800.00
 3340 Dundee Road,                                   services
 Suite 2N4
 Northbrook, IL
 60062
 Synergy                                             Medical coding                                                                                              $47,306.00
 75 Executive Dr.,
 Ste. 345
 Aurora, IL 60504
 Tami Dinelli                                        Former business                                                                                           $250,000.00
 260 Rice St.                                        partner
 East Brooklyn, IL
 60424
 Voelker Law                                         Services rendered                                                                                           $36,250.00
 33 N Dearborn, Suite
 1000
 Chicago, IL 60602
 Wellsky                                             Patient charting                                                                                            $27,995.00
 11300 Switzer Blvd.
 Overland Park, KS
 66210
 Wermer, Rogers,                                     Accounting firm                                                                                             $28,875.00
 Doran & Ruzon, LLC
 755 Essington Road
 Joliet, IL 60435




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                      Amy Grogan
                      Grogan Hesse & Uditsky P.C.
                      Two Mid America Plaza, Suite 110
                      Oak Brook Terrace, IL 60181


                      Byram Healthcare
                      444 Highway 96 East
                      Saint Paul, MN 55127


                      Capital Dude, LLC
                      79 E. Madison Ave., 17th Floor
                      New York, NY 10016


                      Distinctive Therapy
                      7501 Lemont Rd, Suite 345F
                      Woodridge, IL 60517


                      Empire Recovery Solutions, LLC
                      10 W. 37th St.
                      Rm. 602
                      New York, NY 10018


                      Global Resources
                      150 W Washington Ave.
                      Santa Fe, NM 87501


                      Home Theraputic Staffing
                      10661 S Roberts Rd Suite 201
                      Palos Hills, IL 60465


                      Illinois Department of Revenue
                      P.O. Box 19035
                      Springfield, IL 62794-9006


                      Illinois Dept. of Employment Sec.
                      Collections Section
                      33 S. State Street 10th Floor
                      Chicago, IL 60603-2802


                      Imperial PFS
                      1055 Broadway, 11th Floor
                      Kansas City, MO 64105
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                  Internal Revenue Service
                  PO Box 7346
                  Philadelphia, PA 19101-7346


                  Lustig & Wickert, P.C.
                  3400 Dundee Road
                  Northbrook, IL 60062


                  Sorinsky
                  3340 Dundee Road, Suite 2N4
                  Northbrook, IL 60062


                  Synergy
                  75 Executive Dr., Ste. 345
                  Aurora, IL 60504


                  Tami Dinelli
                  260 Rice St.
                  East Brooklyn, IL 60424


                  Voelker Law
                  33 N Dearborn, Suite 1000
                  Chicago, IL 60602


                  Wellsky
                  11300 Switzer Blvd.
                  Overland Park, KS 66210


                  Wermer, Rogers, Doran & Ruzon, LLC
                  755 Essington Road
                  Joliet, IL 60435
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                                          United States Bankruptcy Court
                                                Northern District of Illinois
 In re   Absolute Home Health, LLC                                                     Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Absolute Home Health, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




March 16, 2023                                   /s/ William J. Factor
Date                                             William J. Factor 6205675
                                                 Signature of Attorney or Litigant
                                                 Counsel for Absolute Home Health, LLC
                                                 FactorLaw
                                                 105 W. Madison St., Suite 1500
                                                 Chicago, IL 60602
                                                 312-878-6976 Fax:847-574-8233
